993 F.2d 1535
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Phillip Charles BROWN, Plaintiff-Appellant,v.CHristine MANUELIAN, Assistant United States Attorney;Herbert Murray, Judge, United States Court ofMaryland, Defendants-Appellees.
    No. 93-6225.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  June 4, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-93-269-MJG)
      Phillip Charles Brown, Appellant Pro Se.
      Richard Douglas Bennett, Office of the United States Attorney, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Phillip Charles Brown appeals from the district court's order sua sponte dismissing his Bivens-type1 claim against the Defendants on immunity and other grounds.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.2  Brown v. Manuelian, No. CA-93-269-MJG (D. Md. Feb. 8, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        1
         Bivens v. Six Unknown Named Agents of Fed.  Bureau of Narcotics, 403 U.S. 388 (1971)
      
      
        2
         We hereby deny Brown's motions for judicial relief
      
    
    